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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 5   ATTORNEY FOR DEFENDANT
     HARDEEP SINGH
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                CR-S-09-125–FCD
10                                  )
          PLAINTIFF,                )                ORDER EXONERATING
11                                  )                BOND
          v.                        )
12                                  )
     HARDEEP SINGH, et al.,         )
13                                  )
          DEFENDANTS.               )
14   ______________________________)
15
           On November 19, 2010, the Court held a hearing on a violation of Pre-Trial
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     release regarding the defendant, Hardeep Singh. After a full hearing, the Court
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     ordered the defendant remanded. The Court ordered defense counsel to file a
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     Proposed Order to exonerate the bond in this case. This document is in compliance
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     with the Court’s order.
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           The defense requests the Court to issue an Order directing the Clerk of the
21
     Court of the Eastern District of California to exonerate the bond in this case (filed on
22
     December 17, 2008, receipt CAE#200012819 for $50,000.00, See Docket entry
23
     number 17), releasing the bond in the amount of $50,000.00 to the defendant’s
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     attorney, James R. Greiner, as evidenced in Exhibit One.
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 1                                         ORDER
 2
 3         FOR GOOD CAUSE SHOWN,
 4         The Clerk of the Eastern District of California is hereby Ordered to release the
 5   bond filed by the defendant on December 17, 2008, receipt CAE#200012819 for
 6   $50,000.00, by releasing the bond in the full amount, $50,000.00, to the defendant’s
 7   attorney, James R. Greiner.
 8
 9         IT IS SO ORDERED.
10
11   DATED: NOVEMBER 23, 2010
12
13                                   /s/ Gregory G. Hollows
14                                   GREGORY G. HOLLOWS
                                     MAGISTRATE JUDGE
15                                   UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
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20   singh.exo
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